STATE OF NORTH CAROLINA File #
County of Mecklenburg Film #

The State of North Carolina In The General Court of Justice
Superior Court Division

vs.
April 28, 1997

{ Jeffrey Donald Black
W/M DOB: May 22, 1978
115 Green Street
Charlotte, North Carolina ,
ROBBERY WITH A DANGEROUS WEAPON

Defendant.
G.S. 14-87 (ATTEMPT)

THE JURORS FOR THE STATE UPON THEIR OATH PRESENT that on or about the 13th
day of January, 1997, in Mecklenburg County, Jeffrey Donald Black did unlawfully, wilfully and
felonioesly attempt to steal, take, and carry away another's personal property, United States currency
and cocaine, of valuc, from the person and presence of Randall Carson James. The defendant
committed this act by means of an assault consisting of having in his possession and threatening the

use of a fircarm, a gun, a dangerous weapon, whereby the life of Randall Carson James was
threatened and endangered.

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WITNESSES:
Ss. D. D. E. Phillips, CMPD
H. RK. Yackso

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The witnesses marked "X" were 5 orn by the undersigned foreman and examined before the
grand jury, and the bill was found to be a true bill by twelve or more grand jurors nota

true bill.
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I hereby certify that _/
bill of indictment.

members of the grand jury concurred in finding this to be a true

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Grand Jury Foreman

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ORIGINAL 97-0111-200101
Charge Number 120200 PID 196847

 

 

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MECKLENBURG | County CHARLOTTE.N.C, —__ Seat of Court In The General Court Of Justice
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STATE VERSUS : JUDGMENT AND COMMITMENT
Cetencant oe ACTIVE PUNISHMENT
_ JEFFREY DONALD BLACK FELONY
Race Sex \D08 {
. (STRUCTURED SENTENCING) ay
White Me OS-22-1978 GS 1501904, 154-1940.13 |
Atomey For State coud Ont Waveg AttomeyForDefendant SCS i uy
M GGODENOW & A GLEASON Netinayers —atar*y GEORGE V.LAUGHRUN __ | Px)Appamted [_]Retained
The defendant X pied quilty to was found guilty by a jury of pled no contest to"
File No ts: And Otfensets) Date Of Offense GS No FM Ch.
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87 CRS 768 1-RORBERY WITH DANGEROUS WEAPON 01-16-1997 14-87 F D
| 5
ST CRS PUTTST ATTEMPTED ROBBERY WITH DANGEROUS WE ARON OL-14.1997 14-87 Fo: oD
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The Court PRIOR tj mv

X 1 has determned pursuant ta GS 15A.1340 14 the prior record points of the detendanttabe — | RECORDLEVEL: X11 4 IV {| Vi
2 makes no prior record level finding because none ts required for Class A felony,
enhanced frearm penalty violent habitual felon. or drug trafficking offenses

The Court
1 makes no wniten findings because the prison term imposed 1s (a) within the presumptive range of sentences authorized
under GS 158-1346 i7(c) (b) for a Class A felony (c) for enhanced firearm penalty (GS. 15A-1340.16A).
(d) for an adjudication as a violent habitual felon GS 14-7 12 (e) for drug tratficking offenses
makes the pindiegs of Aggravaing and Miigating Factors set forth on the attached AOC-CR-605
imposes the prison term pursuant to a plea arrangement as to sentence under Article 58 of G.S. Chapter 15A.
finds the defendant has provided substantial assistance pursuant to G S 90-95(h)(5)
adjudges the defendant to be an habitual felon pursuant to Article 2A of GS. Chapter 14
Ende ertarced pumshmeant froma Class Tmademeanor toa Class | feteny GS 99 95()(3) (diugs) GS 14-3(c) (race)
fds oo hatracrdinary Mitigation

Nm Wh

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The Court, having considered evidence, arguments of counsel and statement of defendant, finds that the defendant's plea was freely,
veduntanty acd understandingly entered, and Orders the above offerises be consolidated for judgment and the defendant be imprisoned

for a rmeonmer tem ot fora maxanurn term of “in the custody ofthe
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ats iony ife Impnsoament Without Faro a Wh (sae attached eath Sheriff pursuant to G 15A-1352(b)

Warrant and Certificates)
. Other

Slass Rt Calary f fe impneonment Without Parle

The defendao’ snail ne geen credit for 159 days spent in the confinement puor to the date of this Judgment as a resutt of tus charge

The senteace smposed above shail beqin at the expiration of ail santences which the defendant ts presently obhgated to serve

ete en orc osed above shall peqn atthe expiruhon of the sentence unposed in the case referenced below

(NOTE See e Phere Pg bite Aid COG av EY Ot eritenee anpased )

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eeu harsh UV boty The ’ Yo the defendant stall poy a fine ofS
The Court recommends
3 Substance Abuse Treatment Unt pursuant to GS 15A-1351(h) 4 Psychiatne and/or psychological counseling,
5 VWierk Release
® Payment as a condition of post release sunenision. applicable or from work release earnings, if applicable, of the items and

BITOUMS SET out Pew

“ae oss Seyret Remmbursenent © 2 Atty Fee & Other Expenses Total Amount Due

“Narmmeis) acktressies amounts: & soua’ secunty oumber(s) of aqqueved party(es) to receive restitution:

The Court further recommends

The Court does not recommend

1. Resttunon as a comchbon cf post reease Supervision or work release 2. Work release
. to
AWARD OF FEE TO COUNSEL FOR DEFENDANT 2
& Seatnny wan Reid en Ooen Lorton the presence of the defendant at which time a fee, including expenses, was awarded the

Setendants Alport: d Coase! of assagned pubhc defender
; ORDER OF COMMITMENT/APPEAL ENTRIES | |

ace debver two cemfied comes of this Judgment and Commitment to the sheriff or other qualified officer and
Dat fap othr ed ce we fe tetegart tool ceivered win n these Coptes ta tne custody of the agency named on the reverse ta serve the
Sh eae Bos uta ot Geterhamt si ali have compbed with the conditions of release pending appeal

‘The detencant gees nonce of appeal from the yucgment of the Supenor Court to the Appellate Division. Appeal entries and any
Soreditons of post comsachon reiease are set forth on torm AOC-CR-350 ~y

i Rtg OROERED mat mre C

_ SIGNATURE OF JUDGE

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Sita | 4O7 RAYMOND A WARREN “f Ci lee
ne ORDER OF COMMITMENT APTER A EAL
Detth AN So ots Dae imerea sy Of Appeal Fred Date Appellate, Opinion Certified —

Sg CMRDERES that tes Satgrent De executed it is FURTHER ORDERED that the sheniff arrest the defendant, if necessary, and
serieiears? the ctetometant to fee Gustodty of tre offaal named in this Judgment and furnish that official two certified copies of this Judgment
dyed Gayneectaant as autorty for Ine commitment and detenhon of the defendant

ee Pgrwreny 0) Ora

“Deputy csc "assistant csc
Clerk Of Supenor Court

ae CERTIFICATION ee.
< carb teat oa Judgment a and Commement w ch the attachment marked below is a true and complete c« copy y of the original which i is on n file
i Nee trae Aggaral Cotes (A0C-0%.350)
DS Peteny dudgment Fincings Of Aggravz.ng And Mitgating Factors (AOC-CR-605)
Aadcat Findings As To Forfeture Of Licensing Pnvileges (AOC-CR-317)
Caresteent information Statement (DC-60G)
Cae , "” Swgnature And Seal

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~ Case 3:20-cr-00426-FDW-DSC ,, Document.51-2. Filed 10/27/21 Page 3. of 3

pt CSC , Clerk Ot uaiiiiie Cour
